                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION


In the Matter of:                               }
STEPHON WOODS                                   }    CASE NO. 19-81105-CRJ-13
SSN: XXX-XX-6547                                }
                                                }    CHAPTER 13
                      Debtor(s).                }

STEPHON WOODS                                   }    AP NO. 19-80044-CRJ-13
                                                }
                                                }
                      Plaintiff(s),             }
       v.                                       }
                                                }
FINANCIAL RECOVERY SERVICES, INC.,              }
WEBFINANCIAL HOLDING CORP., D/B/A               }
WEBBANK, and FINGERHUT                          }
                                                }
                      Defendant(s).             }



                    ORDER TO SHOW CAUSE WHY SANCTIONS
                      SHOULD NOT BE IMPOSED AGAINST
                DEFENDANT FINANCIAL RECOVERY SERVICES, INC.
                   PURSUANT TO BANKRUPTCY RULE 9011(b)(2)

       On September 16, 2019, the Defendant Financial Recovery Services, Inc. (hereinafter
“Defendant”) filed its Answer to Plaintiff’s Complaint, ECF No. 23, pursuant to which the
Defendant asserts affirmative defenses challenging the ability of the Court to issue punitive
damages under 11 U.S.C. § 362(k) based upon Alabama law and the Constitution of the State of
Alabama. See Affirmative Defenses (Twenty-Third through Forty-Second).

       The Defendant is hereby placed on notice that the assertion of the Affirmative Defenses
set forth above constitutes grounds for potential Rule 9011 sanctions pursuant to Rule 9011(b)(2)
of the Federal Rules of Bankruptcy Procedure as defenses and legal contentions that are not
warranted by existing law or by a nonfrivolous argument for the extension, modification, or
reversal of existing law or the establishment of new law to the extent the Defendant challenges the
Court’s authority to award punitive damages pursuant to 11 U.S.C. § 362(k) based upon Alabama
law and the Constitution of the State of Alabama.




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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that counsel for the
Defendant is hereby ordered to appear on October 23, 2019 at 10:00 a.m. before the Honorable
Clifton R. Jessup, Jr. at the Federal Building, 101 Holmes Avenue, Huntsville, Alabama and show
cause why the continued assertion of affirmative defenses challenging this Court’s authority to
enter a final order awarding punitive damages pursuant to 11 U.S.C. § 362(k) based upon Alabama
law and the Constitution of the State of Alabama does not violate Rule 9011(b)(2), as the defenses
are not warranted by existing law or by a nonfrivolous argument for the modification of existing
law or establishment of new law. The Court, on its own initiative, pursuant to Rule 9011(c)(1)(B)
will consider whether sanctions should be imposed.


Dated this the 19th day of September, 2019.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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